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                        Exhibit D
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                                        Sager v. VWGoA_001755
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                                        Sager v. VWGoA_001756
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                                        Sager v. VWGoA_001757
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      CONFIDENTIAL -- SUBJECT TO DISCOVERY CONFIDENTIALITY ORDER




                                        Sager v. VWGoA_001758
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                                        Sager v. VWGoA_001759
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                                        Sager v. VWGoA_001760
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      CONFIDENTIAL -- SUBJECT TO DISCOVERY CONFIDENTIALITY ORDER




                                        Sager v. VWGoA_001761
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      CONFIDENTIAL -- SUBJECT TO DISCOVERY CONFIDENTIALITY ORDER




                                        Sager v. VWGoA_001762
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                                        Sager v. VWGoA_001763
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       CONFIDENTIAL -- SUBJECT TO DISCOVERY CONFIDENTIALITY ORDER




                                        Sager v. VWGoA_001764
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                                        Sager v. VWGoA_001765
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                                        Sager v. VWGoA_001766
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                                        Sager v. VWGoA_001767
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 Warranty                                                                                                                                                                                                                  Warranty


 - On-Board Diagnostic (OBD) System: including         Federal Emissions Performance Warranty                             Federal Emissions Performance Warranty                 or workmanship, or not equivalent from an emis­
   Malfunction Indicator Lamp (MIL) and Data                                                                              claim approval                                         sion standpoint to the original part, and you are
                                                       For 2 Years or 24,000 miles and 8 years or                                                                                not able to offer information that the part is ei­
   Link Connector
                                                       80.000 miles                                                       You may raise a claim under this warranty imme­
 - PCV System: including control valves and pipes                                                                                                                                ther not defective or equivalent to the original
                                                                                                                          diately after your vehicle has failed an I/M Test or
 - Secondary Air Injection System: including air       Some States and local jurisdictions may have es­                                                                          part with respect to its emission performance.
                                                                                                                          Inspection and if, as a result of that failure, you
   pump and control valves                             tablished periodic vehicle emissions inspection
                                                                                                                          are required by law to repair the vehicle to avoid     Audi will not deny a claim relating to:
 - Emission-related hoses, gaskets, clamps, and        and maintenance (I/M) programs to encourage
                                                                                                                          imposition of a penalty or cancellation of your        - Warranty work or pre-delivery service per­
   other accessories used with the above compo­        proper maintenance of your vehicle. If an ap­
                                                                                                                          right to use the vehicle. You need not actually         formed by an authorized Audi dealer
   nents                                               proved I/M program is in force in your area, you
                                                                                                                          suffer the loss or lose the right to use your vehi­
                                                       are eligible for emissions performance warranty                                                                           - Work performed in an emergency to rectify an
 The obligation of Audi under this warranty is lim­                                                                       cle or pay for the repair before presenting your
                                                       coverage                                                                                                                    unsafe condition attributable to Audi provided
 ited, however, to the following: If within this pe­                                                                      claim.
                                                                                                                                                                                  you have taken steps in a timely manner to put
 riod a defect in material or workmanship causes       Audi of America, Inc., an operating unit of Volks­
                                                                                                                          Claims may be presented only by bringing your           the vehicle back into a conforming condition
 the vehicle to fail to conform with applicable EPA    wagen Croup of America, Inc. ("Audi") warrants
                                                                                                                          vehicle to any authorized Audi dealer in the Unit­     - The use of an uncertified part or to noncompli­
 emissions regulations and the vehicle is brought      to the original retail purchaser or original lessee
                                                                                                                          ed States, including its territories. For Audi R8       ance with the instructions for proper mainte­
 to the workshop of any authorized Audi dealer in      of a model year 2015 Audi vehicle and any sub­
                                                                                                                          vehicles, the authorized Audi dealer must also           nance and use, which is not related to the I/M
 the United States, including its territories, the     sequent purchaser or lessee of the vehicle that if
                                                                                                                          have the designation Audi R8 Certified Point or         Test or Inspection failure
 dealer will make repairs as may be required by        the following conditions are met, any authorized
                                                                                                                          Audi R8 Service Point. For Audi Q5 hybrid vehicle
 these regulations free of charge. Eor Audi R8         Audi dealer (for Audi R8 vehicles, the authorized
                                                                                                                          components, the dealer must be an Audi Q5 hy­           Additional Information About Your Federal
 vehicles, the authorized Audi dealer must also        Audi dealer must also have the designation Audi
                                                                                                                          brid certified dealer. The dealer will honor or de­     Emissions Warranties
 have the designation Audi R8 Certified Point or       R8 Certified Point or Audi R8 Service Point and
                                                                                                                          ny your claim within a reasonable time, not to ex­
 Audi R8 Service Point. Eor Audi Q5 hybrid compo­      for Audi Q5 hybrid component repairs, the au­                                                                             Warranty period
                                                                                                                          ceed thirty (30) days, from the time at which your
 nents, the authorized Audi Dealer must be an          thorized Audi dealer must be an Audi Q5 hybrid
                                                                                                                          vehicle is presented for repair or within any time     The warranty period begins on the date the vehi­
 Audi Q5 hybrid certified dealer.                      certified dealer) in the United States, including
                                                                                                                          period specified by local, state or Federal law,       cle is delivered to the original retail purchaser or
                                                       its territories, will remedy any nonconformity, as
 For 8 Years or 80,000 miles                                                                                              whichever is shorter, except when a delay is           original lessee, and any subsequent purchaser or
                                                       determined below, free of charge, under the fol­
                                                                                                                          caused by events not attributable to Audi or the       lessee or, if the vehicle is first placed in service as
 If the vehicle has been in use for more than 2        lowing conditions:
                                                                                                                          dealer. If the dealer denies your claim, you will be   a demonstrator or company demonstrator or
 years or 24,000 miles, but less than 8 years or       - The vehicle fails to conform at any time during                  notified in writing of the reasons for rejecting the   company car prior to delivery, on the date it is
 80,000 miles, whichever occurs first, your au­          2 years or 24,000 miles, whichever occurs first,                 claim. If you do not receive notice of denial of       first placed in service.
 thorized Audi dealer will repair or replace free of     to applicable emission inspection standards as                   your claim within the above time period, Audi is
 charge the following major emission control             determined by an EPA Approved State Inspec­                                                                             Proper maintenance and use
                                                                                                                          required by law to honor the claim.
 components only:                                        tion and Maintenance Test (I/M), or                                                                                     Instructions for proper maintenance are con­
                                                                                                                          Under certain circumstances, your claim may be
 - Catalytic Converter/Particulate Filter              - If the vehicle has been in use for more than 2                                                                          tained in the Maintenance section of this booklet.
                                                                                                                          denied because you have failed to comply with in­
 - Engine Electronic Control Module                      years or 24,000 miles, but less than 8 years or                                                                         Time and mileage intervals, at which mainte­
                                                                                                                          structions for scheduled maintenance contained
 -On-Board Diagnostic Device                             80,000 miles, whichever occurs first, and the                                                                           nance is to be performed, may vary from model
                                                                                                                          in the Maintenance section of this booklet. In de­
                                                         vehicle fails an I/M Test or Inspection resulting                                                                       to model.
 For Audi R8 vehicles, the authorized Audi dealer                                                                         termining whetheryou have complied with the
                                                         from a malfunction of a catalytic converter/die-
 must also have the designation Audi R8 Certified                                                                         instructions for scheduled maintenance and             Audi recommends you keep a record of scheduled
                                                         sel particulate filter, engine electronic control
  Point or Audi R8 Service Point.                                                                                         proper use, Audi may require you to furnish proof      maintenance by having the Maintenance section
                                                         module, or on-board diagnostic (OBD) device.
                                                                                                                          of compliance only with those maintenance in­          of this booklet validated at the approximate time
  For Audi Q5 hybrid components, the authorized          and
                                                                                                                          structions which Audi has reason to believe were       or mileage intervals by the authorized Audi deal­
 Audi dealer must be an Audi Q5 hybrid certified       - The failure of the I/M Test or Inspection re­
                                                                                                                          not performed and which could be the cause of          er or other service facility that performed the
 dealer.                                                 quires the vehicle owner to bear any penalty or
                                                                                                                          the I/M Test or Inspection failure.                    maintenance. If you perform the maintenance
                                                         other sanction, including the denial of the right
                                                                                                                                                                                 yourself, keep all documentation as proof you
                                                         to use the vehicle under local, state or Federal                 Audi may deny an emission performance warran­
                                                                                                                                                                                 have performed the maintenance at the approxi­
                                                         law, and                                                   fO
                                                                                                                    (N
                                                                                                                          ty claim on the basis that a replacement part not
                                                                                                                                                                                 mate time or mileage intervals recommended,
                                                       - The vehicle has been maintained and operated                     certified by the EPA was used in the maintenance
                                                                                                                    tx>
                                                                                                                                                                                 that you have used proper parts, and that you
                                                         in accordance with Audi’s instructions for prop­                 or repair of the vehicle if Audi can prove that the
                                                                                                                    m                                                            were able to perform the maintenance properly.            ►
                                                                                                                    <£»
                                                         er maintenance and use.                                    LO    non-certified part is either defective in materials
                                                                                                                    m
                                                                                                                    LO




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                                                               Sager v. VWGoA_001768
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 Warranty                                                                                                                                                                                                           Warranty


 - On-Board Diagnostic (OBD) System: including         Federal Emissions Performance Warranty                      Federal Emissions Performance Warranty                 or workmanship, or not equivalent from an emis­
  Malfunction Indicator Lamp (MIL) and Data                                                                        claim approval                                         sion standpoint to the original part, and you are
                                                       For 2 Years or 24,000 miles and 8 years or                                                                         not able to offer information that the part is ei­
  Link Connector
                                                       80.000 miles                                                You may raise a claim under this warranty imme­
 - PCV System: including control valves and pipes                                                                                                                         ther not defective or equivalent to the original
                                                                                                                   diately after your vehicle has failed an I/M Test or
 - Secondary Air Injection System: including air       Some States and local jurisdictions may have es­                                                                   part with respect to its emission performance.
                                                                                                                   Inspection and if, as a result of that failure, you
  pump and control valves                              tablished periodic vehicle emissions inspection
                                                                                                                   are required by law to repair the vehicle to avoid     Audi will not deny a claim relating to:
 - Emission-related hoses, gaskets, clamps, and        and maintenance (I/M) programs to encourage
                                                                                                                   imposition of a penalty or cancellation of your        - Warranty work or pre-delivery service per­
  other accessories used with the above compo­         proper maintenance of your vehicle. If an ap­
                                                                                                                   right to use the vehicle. You need not actually         formed by an authorized Audi dealer
   nents                                               proved I/M program is in force in your area, you
                                                                                                                   suffer the loss or lose the right to use your vehi­
                                                       are eligible for emissions performance warranty                                                                    - Work performed in an emergency to rectify an
 The obligation of Audi under this warranty is lim­                                                                cle or pay for the repair before presenting your
                                                       coverage                                                                                                             unsafe condition attributable to Audi provided
 ited, however, to the following: If within this pe­                                                               claim.
                                                                                                                                                                           you have taken steps in a timely manner to put
 riod a defect in material or workmanship causes       Audi of America, Inc., an operating unit of Volks­
                                                                                                                   Claims may be presented only by bringing your           the vehicle back into a conforming condition
 the vehicle to fail to conform with applicable EPA    wagen Croup of America, Inc. ("Audi") warrants
                                                                                                                   vehicle to any authorized Audi dealer in the Unit­     - The use of an uncertified part or to noncompli­
 emissions regulations and the vehicle is brought      to the original retail purchaser or original lessee
                                                                                                                   ed States, including its territories. For Audi R8       ance with the instructions for proper mainte­
 to the workshop of any authorized Audi dealer in      of a model year 2015 Audi vehicle and any sub­
                                                                                                                   vehicles, the authorized Audi dealer must also           nance and use, which is not related to the I/M
 the United States, including its territories, the     sequent purchaser or lessee of the vehicle that if
                                                                                                                   have the designation Audi R8 Certified Point or         Test or Inspection failure
 dealer will make repairs as may be required by        the following conditions are met, any authorized
                                                                                                                   Audi R8 Service Point. For Audi Q5 hybrid vehicle
 these regulations free of charge. Eor Audi R8         Audi dealer (for Audi R8 vehicles, the authorized
                                                                                                                   components, the dealer must be an Audi Q5 hy­           Additional Information About Your Federal
 vehicles, the authorized Audi dealer must also        Audi dealer must also have the designation Audi
                                                                                                                   brid certified dealer. The dealer will honor or de­     Emissions Warranties
 have the designation Audi R8 Certified Point or       R8 Certified Point or Audi R8 Service Point and
                                                                                                                   ny your claim within a reasonable time, not to ex­
 Audi R8 Service Point. Eor Audi Q5 hybrid compo­      for Audi Q5 hybrid component repairs, the au­                                                                      Warranty period
                                                                                                                   ceed thirty (30) days, from the time at which your
 nents, the authorized Audi Dealer must be an          thorized Audi dealer must be an Audi Q5 hybrid
                                                                                                                   vehicle is presented for repair or within any time     The warranty period begins on the date the vehi­
 Audi Q5 hybrid certified dealer.                      certified dealer) in the United States, including
                                                                                                                   period specified by local, state or Federal law,       cle is delivered to the original retail purchaser or
                                                       its territories, will remedy any nonconformity, as
 For 8 Years or 80,000 miles                                                                                       whichever is shorter, except when a delay is           original lessee, and any subsequent purchaser or
                                                       determined below, free of charge, under the fol­
                                                                                                                   caused by events not attributable to Audi or the       lessee or, if the vehicle is first placed in service as
 If the vehicle has been in use for more than 2        lowing conditions:
                                                                                                                   dealer. If the dealer denies your claim, you will be   a demonstrator or company demonstrator or
 years or 24,000 miles, but less than 8 years or       - The vehicle fails to conform at any time during           notified in writing of the reasons for rejecting the   company car prior to delivery, on the date it is
 80,000 miles, whichever occurs first, your au­          2 years or 24,000 miles, whichever occurs first,          claim. If you do not receive notice of denial of       first placed in service.
 thorized Audi dealer will repair or replace free of     to applicable emission inspection standards as            your claim within the above time period, Audi is
 charge the following major emission control             determined by an EPA Approved State Inspec­                                                                      Proper maintenance and use
                                                                                                                   required by law to honor the claim.
 components only:                                        tion and Maintenance Test (I/M), or                                                                              Instructions for proper maintenance are con­
                                                                                                                   Under certain circumstances, your claim may be
 - Catalytic Converter/Particulate Filter              - If the vehicle has been in use for more than 2                                                                   tained in the Maintenance section of this booklet.
                                                                                                                   denied because you have failed to comply with in­
 - Engine Electronic Control Module                      years or 24,000 miles, but less than 8 years or                                                                  Time and mileage intervals, at which mainte­
                                                                                                                   structions for scheduled maintenance contained
 -On-Board Diagnostic Device                             80,000 miles, whichever occurs first, and the                                                                    nance is to be performed, may vary from model
                                                                                                                   in the Maintenance section of this booklet. In de­
                                                         vehicle fails an I/M Test or Inspection resulting                                                                to model.
 For Audi R8 vehicles, the authorized Audi dealer                                                                  termining whetheryou have complied with the
                                                         from a malfunction of a catalytic converter/die-
 must also have the designation Audi R8 Certified                                                                  instructions for scheduled maintenance and             Audi recommends you keep a record of scheduled
                                                         sel particulate filter, engine electronic control
 Point or Audi R8 Service Point.                                                                                   proper use, Audi may require you to furnish proof      maintenance by having the Maintenance section
                                                         module, or on-board diagnostic (OBD) device.
                                                                                                                   of compliance only with those maintenance in­          of this booklet validated at the approximate time
 For Audi Q5 hybrid components, the authorized           and
                                                                                                                   structions which Audi has reason to believe were       or mileage intervals by the authorized Audi deal­
 Audi dealer must be an Audi Q5 hybrid certified       - The failure of the I/M Test or Inspection re­
                                                                                                                   not performed and which could be the cause of          er or other service facility that performed the
 dealer.                                                 quires the vehicle owner to bear any penalty or
                                                                                                                   the I/M Test or Inspection failure.                    maintenance. If you perform the maintenance
                                                         other sanction, including the denial of the right
                                                                                                                                                                          yourself, keep all documentation as proof you
                                                         to use the vehicle under local, state or Federal          Audi may deny an emission performance warran­
                                                                                                                                                                          have performed the maintenance at the approxi­
                                                         law, and                                            fO
                                                                                                             (N
                                                                                                                   ty claim on the basis that a replacement part not
                                                                                                                                                                          mate time or mileage intervals recommended,
                                                       - The vehicle has been maintained and operated              certified by the EPA was used in the maintenance
                                                                                                             tx>
                                                                                                                                                                          that you have used proper parts, and that you
                                                         in accordance with Audi’s instructions for prop­          or repair of the vehicle if Audi can prove that the
                                                                                                             m                                                            were able to perform the maintenance properly.            ►
                                                                                                             <£»
                                                         er maintenance and use.                             LO    non-certified part is either defective in materials
                                                                                                             m
                                                                                                             LO




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                                        Sager v. VWGoA_001770
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                                        Sager v. VWGoA_001771
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                                        Sager v. VWGoA_001772
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                                        Sager v. VWGoA_001773
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                                        Sager v. VWGoA_001774
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                                        Sager v. VWGoA_001775
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 Warranty                                                                                                                                                                                                                  Warranty


 Consumer Protection                                   - If you accept the decision, the manufacturer                        Because each state has enacted specific provi­        You are required to use BBB AUTO LINE before as­
                                                        will be bound by the decision and will be re­                        sions as part of its lemon law, owners are advised    serting in court any rights or remedies conferred
 Information
                                                         quired to fulfill its obligation within the time-                   to research and follow the laws in their state.       by California Civil Code Section 1793.22. You are
 Informal dispute mechanism                             frame specified by the arbitrator.                                                                                         not required to use BBB AUTO LINE before pursu­
                                                       - If you reject the decision, you are free to pursue                   NOTICE TO CALIFORNIA PURCHASERS                      ing rights and remedies under any other state or
 If your authorized Audi dealer or Audi Customer
                                                         other legal remedies available under state or                                                                             Federal law.
 Advocate has been unable to satisfactorily ad­                                                                              Audi participates in BBB AUTO LINE, a mediation/
                                                         Federal law, and the manufacturer will not be
 dress your concern, Audi offers additional assis­                                                                                                                                 California Civil Code Section 1793.2(d) requires
                                                         required to comply with any part of the deci­                       arbitration program administered by the Council
 tance through BBB AUTO LINE, a dispute resolu­                                                                                                                                    that, if Audi or its representative is unable to re­
                                                         sion.                                                               of Better Business Bureaus (3033 Wilson Boule­
 tion program administered by the Council of Bet­                                                                                                                                  pair a new motor vehicle to conform to the vehi­
                                                                                                                             vard, Suite 600, Arlington, Virginia 22201). BBB
 ter Business Bureaus.                                                                                                                                                             cle's applicable express warranty after a reasona­
                                                                                                                             AUTO LINE and Audi have been certified by the
                                                       State-Specific Warranty                                                                                                     ble number of attempts, Audi may be required to
 BBB AUTO LINE is free of charge to you but there                                                                            Arbitration Certification Program of the Califor­
                                                       Enforcement Laws                                                      nia Department of Consumer Affairs.
                                                                                                                                                                                   replace or repurchase the vehicle. California Civil
 are some vehicle age and mileage limitations, so
                                                                                                                                                                                   Code Section 1793.22(b) creates a presumption
 please call BBB AUTO LINE for more details:            Local laws                                                           If you have a problem arising under an Audi writ­     that Audi has had a reasonable number of at­
 Tel.: 1 (800) 955-5100                                                                                                      ten warranty, we request that you bring it to our     tempts to conform the vehicle to its applicable
                                                       Each state has enacted warranty enforcement
                                                                                                                             attention. If we are unable to resolve it, you may    express warranties if, within 18 months from de­
 If you call BBB AUTO LINE, please be prepared to      laws (commonly referred to as "lemon laws")
                                                                                                                             file a claim with BBB AUTO LINE. Claims must be       livery to the buyer or 18,000 miles on the vehi­
                                                       that permit owners to obtain a replacement vehi­
 provide the following information:
                                                                                                                             filed with BBB AUTO LINE within six (6) months        cle's odometer, whichever occurs first, one or
                                                       cle or a refund of the purchase price under cer­
 - Your name and address                                                                                                     after the expiration of the warranty.                 more of the following occurs:
                                                       tain circumstances. Although the provisions of
 - The Vehicle Identification Number (VIN)             these laws vary from state to state, their intent is                  To file a claim with BBB AUTO LINE, call:             - The same nonconformity (a failure to conform
 -The make, model, and model year of your vehi-        to provide owners with certain rights if they ex­                                                                             to the written warranty that substantially im­
  cle                                                                                                                        Tel.: 1 (800) 955-5100
                                                       perience significant service-related difficulties                                                                             pairs the use, value, or safety of the vehicle) re­
 - The delivery date and current mileage of your       with their new vehicle.                                               There is no charge for the call.                        sults in a condition that is likely to cause death
  vehicle                                                                                                                                                                            or serious bodily injury if the vehicle is driven
                                                       IMPORTANT NOTICE: To the extent allowed by                            In order to file a claim with BBB AUTO LINE, you
 -A description of the concern with your vehicle                                                                                                                                     AND the nonconformity has been subject to re­
                                                       each state's law, Audi requires that the owner                        will have to provide your name and address, the
 The BBB AUTO LINE program consists of two             first send written notification to Audi explaining                    brand name and vehicle identification number            pair two or more times by Audi or its agents
 parts: mediation and arbitration. Mediation           the nonconformity that the owner has experi­                          (VIN) of your vehicle, and a statement of the na­       AND the buyer or lessee has directly notified
 means that BBB staff will facilitate negotiations     enced with the vehicle, and to allow Audi the op­                     ture of your problem or complaint. You will also        Audi of the need for the repair of the noncon­
 between the parties in an effort to bring your        portunity to make any needed repairs before the                       be asked to provide: the approximate date of            formity; OR
 claim to a mutually acceptable resolution. If you     owner pursues other remedies provided by that                         your acquisition of the vehicle, the vehicle's cur­   - The same nonconformity has been subject to
 do not agree with the mediated solution, you          state's law (in all other states where not specifi­                   rent mileage, the approximate date and mileage          repair 4 or more times by Audi or its agents
 may request an arbitration hearing.                   cally required by state law, Audi requests that the                   at the time any problem(s) were first brought to        AND the buyer has notified Audi of the need for
                                                       owner provide the written notification). The own­                     the attention of Audi or one of our dealers, and a      the repair of the nonconformity ; OR
 Arbitration is a process by which an impartial per­
                                                       er should send written notification to:                               statement of the relief you are seeking.              - The vehicle is out of service by reason of the re­
 son makes a decision on your claim. The arbitra­
                                                                                                                                                                                     pair of nonconformities by Audi or its agents
 tors are not connected with the automobile in­        Audi of America, Inc.                                                 BBB AUTO LINE staff may try to help resolve your
                                                                                                                                                                                     for a cumulative total of more than 30 calendar
 dustry and serve on a voluntary basis. You may        Audi Customer Experience Center                                       dispute through mediation. If mediation is not
                                                                                                                                                                                     days after delivery of the vehicle to the buyer.
 attend the hearing in person, bring witnesses,        3800 Hamlin Road                                                      successful, or if you do not wish to participate in
 and give supporting evidence. Instead of appear­      Auburn Hills, MI 48326                                                mediation, claims within the program's jurisdic­      NOTICE TO AUDI AS REQUIRED ABOVE SHALL BE
 ing in person, you may request a written or even                                                                            tion may be presented to an arbitrator at an in­      SENT TO THE FOLLOWING ADDRESS:
                                                       IMPORTANT NOTICE: Depending on the state's
 a telephone arbitration hearing. The BBB shall
                                                       law, the owner may also be required to submit
                                                                                                                   !         formal hearing. The arbitrator's decision should      Audi of America, Inc.
 make every effort to obtain a final resolution of                                                                           ordinarily be issued within 40 days from the time
                                                       their complaint to BBB AUTO LINE before seeking                                                                             Audi Customer Experience Center
 your claim within 5 business days of the hearing                                                                            your complaint is filed; there may be a delay of 7
                                                       other remedies. Please refer to the information                                                                             3800 Hamlin Road
 (that is, within 40 days of when your claim was                                                                             days if you did not first contact Audi about your
                                                       under the title "Informal dispute mechanism" in                 m                                                           Auburn Hills, MI 48326
                                                                                                                       fN
 filed), unless state or Federal law provides other­                                                                         problem, or a delay of up to 30 days if the arbi­
                                                       this booklet for more information about the BBB.                                                                            The following remedies may be sought in BBB
 wise. You then have the opportunity to accept or                                                                      Z     trator requests an inspection/report by an impar­
                                                       AUTO LINE dispute resolution program.                  ►        03
                                                                                                                                                                                   AUTO LINE: repairs, reimbursement for money
 reject the decision.                                                                                                  m
                                                                                                                       LO    tial technical expert or further investigation and
                                                                                                                       LT)
                                                                                                                       m     report by BBB AUTO LINE.                              paid to repair a vehicle or other expenses                 ►


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 Warranty                                                                                                                                                                                                                 Warranty


 Consumer Protection                                   - If you accept the decision, the manufacturer                       Because each state has enacted specific provi­        You are required to use BBB AUTO LINE before as­
                                                        will be bound by the decision and will be re­                       sions as part of its lemon law, owners are advised    serting in court any rights or remedies conferred
 Information
                                                         quired to fulfill its obligation within the time-                  to research and follow the laws in their state.       by California Civil Code Section 1793.22. You are
 Informal dispute mechanism                             frame specified by the arbitrator.                                                                                        not required to use BBB AUTO LINE before pursu­
                                                       - If you reject the decision, you are free to pursue                  NOTICE TO CALIFORNIA PURCHASERS                      ing rights and remedies under any other state or
 If your authorized Audi dealer or Audi Customer
                                                         other legal remedies available under state or                                                                            Federal law.
 Advocate has been unable to satisfactorily ad­                                                                             Audi participates in BBB AUTO LINE, a mediation/
                                                         Federal law, and the manufacturer will not be
 dress your concern, Audi offers additional assis­                                                                                                                                California Civil Code Section 1793.2(d) requires
                                                         required to comply with any part of the deci­                      arbitration program administered by the Council
 tance through BBB AUTO LINE, a dispute resolu­                                                                                                                                   that, if Audi or its representative is unable to re­
                                                         sion.                                                              of Better Business Bureaus (3033 Wilson Boule­
 tion program administered by the Council of Bet­                                                                                                                                 pair a new motor vehicle to conform to the vehi­
                                                                                                                            vard, Suite 600, Arlington, Virginia 22201). BBB
 ter Business Bureaus.                                                                                                                                                            cle's applicable express warranty after a reasona­
                                                                                                                            AUTO LINE and Audi have been certified by the
                                                       State-Specific Warranty                                                                                                    ble number of attempts, Audi may be required to
 BBB AUTO LINE is free of charge to you but there                                                                           Arbitration Certification Program of the Califor­
                                                       Enforcement Laws                                                     nia Department of Consumer Affairs.
                                                                                                                                                                                  replace or repurchase the vehicle. California Civil
 are some vehicle age and mileage limitations, so
                                                                                                                                                                                  Code Section 1793.22(b) creates a presumption
 please call BBB AUTO LINE for more details:            Local laws                                                          If you have a problem arising under an Audi writ­     that Audi has had a reasonable number of at­
 Tel.: 1 (800) 955-5100                                                                                                     ten warranty, we request that you bring it to our     tempts to conform the vehicle to its applicable
                                                       Each state has enacted warranty enforcement
                                                                                                                            attention. If we are unable to resolve it, you may    express warranties if, within 18 months from de­
 If you call BBB AUTO LINE, please be prepared to      laws (commonly referred to as "lemon laws")
                                                                                                                            file a claim with BBB AUTO LINE. Claims must be       livery to the buyer or 18,000 miles on the vehi­
                                                       that permit owners to obtain a replacement vehi­
 provide the following information:
                                                                                                                            filed with BBB AUTO LINE within six (6) months        cle's odometer, whichever occurs first, one or
                                                       cle or a refund of the purchase price under cer­
 - Your name and address                                                                                                    after the expiration of the warranty.                 more of the following occurs:
                                                       tain circumstances. Although the provisions of
 - The Vehicle Identification Number (VIN)             these laws vary from state to state, their intent is                 To file a claim with BBB AUTO LINE, call:             - The same nonconformity (a failure to conform
 -The make, model, and model year of your vehi-        to provide owners with certain rights if they ex­                                                                            to the written warranty that substantially im­
  cle                                                                                                                       Tel.: 1 (800) 955-5100
                                                       perience significant service-related difficulties                                                                            pairs the use, value, or safety of the vehicle) re­
 - The delivery date and current mileage of your       with their new vehicle.                                              There is no charge for the call.                        sults in a condition that is likely to cause death
  vehicle                                                                                                                                                                           or serious bodily injury if the vehicle is driven
                                                       IMPORTANT NOTICE: To the extent allowed by                           In order to file a claim with BBB AUTO LINE, you
 -A description of the concern with your vehicle                                                                                                                                    AND the nonconformity has been subject to re­
                                                       each state's law, Audi requires that the owner                       will have to provide your name and address, the
 The BBB AUTO LINE program consists of two             first send written notification to Audi explaining                   brand name and vehicle identification number            pair two or more times by Audi or its agents
 parts: mediation and arbitration. Mediation           the nonconformity that the owner has experi­                         (VIN) of your vehicle, and a statement of the na­       AND the buyer or lessee has directly notified
 means that BBB staff will facilitate negotiations     enced with the vehicle, and to allow Audi the op­                    ture of your problem or complaint. You will also        Audi of the need for the repair of the noncon­
 between the parties in an effort to bring your        portunity to make any needed repairs before the                      be asked to provide: the approximate date of            formity; OR
 claim to a mutually acceptable resolution. If you     owner pursues other remedies provided by that                        your acquisition of the vehicle, the vehicle's cur­   - The same nonconformity has been subject to
 do not agree with the mediated solution, you          state's law (in all other states where not specifi­                  rent mileage, the approximate date and mileage          repair 4 or more times by Audi or its agents
 may request an arbitration hearing.                   cally required by state law, Audi requests that the                  at the time any problem(s) were first brought to        AND the buyer has notified Audi of the need for
                                                       owner provide the written notification). The own­                    the attention of Audi or one of our dealers, and a      the repair of the nonconformity ; OR
 Arbitration is a process by which an impartial per­
                                                       er should send written notification to:                              statement of the relief you are seeking.              - The vehicle is out of service by reason of the re­
 son makes a decision on your claim. The arbitra­
                                                                                                                                                                                    pair of nonconformities by Audi or its agents
 tors are not connected with the automobile in­        Audi of America, Inc.                                                BBB AUTO LINE staff may try to help resolve your
                                                                                                                                                                                    for a cumulative total of more than 30 calendar
 dustry and serve on a voluntary basis. You may        Audi Customer Experience Center                                      dispute through mediation. If mediation is not
                                                                                                                                                                                    days after delivery of the vehicle to the buyer.
 attend the hearing in person, bring witnesses,        3800 Hamlin Road                                                     successful, or if you do not wish to participate in
 and give supporting evidence. Instead of appear­      Auburn Hills, MI 48326                                               mediation, claims within the program's jurisdic­      NOTICE TO AUDI AS REQUIRED ABOVE SHALL BE
 ing in person, you may request a written or even                                                                           tion may be presented to an arbitrator at an in­      SENT TO THE FOLLOWING ADDRESS:
                                                       IMPORTANT NOTICE: Depending on the state's
 a telephone arbitration hearing. The BBB shall
                                                       law, the owner may also be required to submit
                                                                                                                  !         formal hearing. The arbitrator's decision should      Audi of America, Inc.
 make every effort to obtain a final resolution of                                                                          ordinarily be issued within 40 days from the time
                                                       their complaint to BBB AUTO LINE before seeking                                                                            Audi Customer Experience Center
 your claim within 5 business days of the hearing                                                                           your complaint is filed; there may be a delay of 7
                                                       other remedies. Please refer to the information                                                                            3800 Hamlin Road
 (that is, within 40 days of when your claim was                                                                            days if you did not first contact Audi about your
                                                       under the title "Informal dispute mechanism" in                m                                                           Auburn Hills, MI 48326
                                                                                                                      fN
 filed), unless state or Federal law provides other­                                                                        problem, or a delay of up to 30 days if the arbi­
                                                       this booklet for more information about the BBB.                                                                           The following remedies may be sought in BBB
 wise. You then have the opportunity to accept or                                                                     Z     trator requests an inspection/report by an impar­
                                                       AUTO LINE dispute resolution program.                  ►       03
                                                                                                                                                                                  AUTO LINE: repairs, reimbursement for money
 reject the decision.                                                                                                 m
                                                                                                                      LO    tial technical expert or further investigation and
                                                                                                                      LT)
                                                                                                                      m     report by BBB AUTO LINE.                              paid to repair a vehicle or other expenses                 ►


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